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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

        In Re: Shale Oil Antitrust Litigation              Case No. 1:24-md-03119-MLG-LF

        This Document Relates to:                          Judge Matthew L. Garcia

        ALL ACTIONS




                                      JOINT STATUS REPORT

   Pursuant to the Court’s December 20, 2024, Initial Scheduling Order (ECF No. 82), Plaintiffs

and Defendants (together, the “Parties”) submit this joint status report.

   I.       Summary of Progress on Case

            a. The Pleadings

   On January 10, 2025, Plaintiffs filed their Consolidated Class Action Complaint (ECF No. 86).

On February 24, 2025, Defendants filed: one joint motion to dismiss under Fed. R. Civ. P. 12(b)(1)

and 12(b)(6) (ECF No. 129), eight individual motions to dismiss under Fed. R. Civ. P. 12(b)(2)

and 12(b)(6) (ECF Nos. 123–27, 130–32), and one Request for Judicial Notice (ECF No. 128).

Pursuant to the Initial Scheduling Order (ECF No. 82), Plaintiffs filed their oppositions to

Defendants’ motions to dismiss and request for judicial notice on April 10, 2025. Defendants’

reply briefs were filed on May 12, 2025. A hearing on the nine motions to dismiss was held on

May 20, 2025 (ECF No. 171).

   On April 8, 2025, the Kansas Attorney General filed a Motion to Intervene (“Motion”) (ECF

No. 153). Pursuant to Stipulation, Plaintiffs responded to the Motion on May 6, 2025. The State

of Kansas filed a reply on June 3, 2025. No hearing has been scheduled for the Motion.


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   On May 12, 2025, 3Red Partners LLC (“3Red”) filed a Class Action Complaint (“3Red

Complaint”) against Defendants. Case No. 1:25-cv-00447, ECF No. 1. Defendants and 3Red are

actively engaged in negotiations regarding a briefing schedule for a motion to dismiss the 3Red

Complaint.

             b. Discovery

   On January 24, 2025, the Parties exchanged their Initial Disclosures. Between February 20

and 27, 2025, the Parties exchanged: document retention and electronic device usage policies; draft

discovery-related protocols including stipulated Electronically Stored Information (“ESI”),

deposition, and expert discovery protocols; and a draft protective order. The parties have reached

agreement and filed the Deposition and Expert Discovery Protocols (ECF Nos. 169 and 170) on

April 21, 2025, which were both entered by the Court on April 28, 2025. ECF No. 172. The parties

are continuing to negotiate the ESI Protocol and Protective Order and will submit stipulated, or

“partially stipulated drafts along with letter briefs outlining any remaining dispute” by July 10,

2025. ECF No. 213.

   II.       Outstanding Disputes

   There are no outstanding issues on which the Parties are at impasse.

   III.      Settlement Discussions

          The Parties will advise the Court if assistance is needed in relation to any settlement

discussions.

   IV.       Motions and Other Matters the Parties Anticipate Addressing at Conference

          There are currently no other matters the Parties anticipate addressing at the conference.



JOINTLY SUBMITTED:




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